Case 1:17-cv-01188-JDB-egb Document 17 Filed 06/20/18 Page 1 of 2                         PageID 115



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TENNESSEE
                                       EASTERN DIVISION

RICHARD APPLEYARD,

       Plaintiff,

v.                                                                     No. 1:17-cv-01188-JDB-egb

MURPHY OIL USA, INC.,

       Defendant.


 ORDER GRANTING JOINT MOTION TO STAY AND ADMINISTRATIVELY CLOSING
                                    CASE
______________________________________________________________________________


       Before the Court is the parties’ June 15, 2018, joint motion to institute a second stay of this

matter. (Docket Entry (“D.E.”) 16.) Specifically, the parties seek a stay pending the outcome of

individual arbitration pursuant to 9 U.S.C. § 3. According to the filing, arbitration will resolve all

claims in this matter and it is the parties’ request that the Court retain jurisdiction over this action

solely for the purposes of enforcing, modifying, or vacating any arbitration award.

       The Federal Arbitration Act (“FAA”) provides that

       [i]f any suit or proceeding be brought in any of the courts of the United States upon
       any issue referable to arbitration under an agreement in writing for such arbitration,
       the court in which such suit is pending, upon being satisfied that the issue involved
       in such suit or proceeding is referable to arbitration under such an agreement, shall
       on application of one of the parties stay the trial of the action until such arbitration
       has been had in accordance with the terms of the agreement, providing the applicant
       for the stay is not in default in proceeding with such arbitration.

9 U.S.C. § 3.

       In Hilton v. Midland Funding, LLC, 687 F. App’x 515 (6th Cir. 2017), the Sixth Circuit

recently articulated that


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Case 1:17-cv-01188-JDB-egb Document 17 Filed 06/20/18 Page 2 of 2                          PageID 116



        [t]he FAA’s instruction that courts should stay proceedings pending arbitration
        applies only if a few conditions are met. First, the issue must be arbitrable. Second,
        one of the parties must apply for a stay. Third, the party requesting the stay cannot
        be in default in proceeding with the arbitration.

Hilton, 687 F. App’x at 518; see also id. at 519 (“The FAA requires a court to stay proceedings

pending arbitration only ‘on application of one of the parties.’”).

        Here, the parties appear to be in agreement that all of the claims at issue in this matter are

arbitrable and there is no indication that either party is in default in proceeding with the arbitration.

Therefore, as both parties have applied for a stay, it is hereby GRANTED. This matter is STAYED

pending arbitration and will be closed for administrative purposes.             The Court will retain

jurisdiction solely for purposes of enforcing, modifying, or vacating any arbitration award between

the parties. Further, the motion to dismiss pending on the Court’s docket (D.E. 11) shall be

terminated.

        IT IS SO ORDERED this 20th day of June 2018.

                                                        s/ J. DANIEL BREEN
                                                        UNITED STATES DISTRICT JUDGE




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